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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT T. BROCKMAN,                          )
           Plaintiff,                        )
                                             )       Case No. 22-cv-00202
v.                                           )
                                             )
UNITED STATES OF AMERICA                     )
          Defendant.                         )

                     SECOND DECLARATION OF REVENUE AGENT
                       DAMON PAXTON UNDER 28 U.S.C. § 1746

        I, Damon Paxton declare:

 1.      My name is Damon Paxton. I am over 21 years of age, of sound mind, capable and

         competent of making this declaration, and have personal knowledge of the facts herein

         stated, based upon my review of the official records of the Internal Revenue Service.

 2.      I am employed by the Internal Revenue Service, as a Revenue Agent in the San

         Francisco CA, area. During 2021, I was the Revenue Agent assigned to the examination

         of Robert T. Brockman’s 2004 through 2018 tax years regarding his income tax

         liabilities and the IRS’s jeopardy assessment against Robert Brockman (“Brockman”)

         for the 2004-2018 years.

 3.      This declaration is submitted in support of the case of Robert T. Brockman v. United

         States.

 4.      The Government Exhibits labeled Gov. Ex. A- #, B-# , C-# and D- # are numbered such

         that each exhibit bears the same letter and number as those same exhibits are numbered

         in the jeopardy report.




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A-exhibits

5.       Government Exhibit A-5 is a true and correct copy of a cash report for Brockman Trust

         1 which came from the IRS files.

6.       Government Exhibit A-6 is a true and correct copy of a cash report for Brockman Trust

         2 which came from the IRS files.

7.       Government Exhibit A-7 is a true and correct copy of a cash report for Point

         Investments 1 which came from the IRS files.

8.       Government Exhibit A-8 is a true and correct copy of a cash report for Point

         Investments 2 which came from the IRS files.

9.       Government Exhibit A-9 is a true and correct copy of a Significant Transaction Report

         for the Brockman Trust which came from the IRS files.

10.      Government Exhibit A-10 is a true and correct copy of a Significant Transaction Report

         for Point which came from the IRS files.

11.      Government Exhibit A-11 is a true and correct copy of an April 2016 Structure Chart

         (Brockman, Framfield) which came from the IRS files.

12.      Government Exhibit A-12 is a true and correct copy of a Structure Chart for Point-

         Massengill-VEPFIV which came from the IRS files.

13.      Government Exhibit A-13 is a true and correct copy of an Evatt Tamine (“Tamine”)

         Solicitor Letter-AEBCT-Point which came from the IRS files.

14.      Government Exhibit A-14 is a true and correct copy of an Evatt Tamine Solicitor Letter-

         Point- Massengill-VEPFIV which came from the IRS files.

15.      Government Exhibit A-15 is a true and correct copy of a Point Purpose Trust Share

         Transfer Form which came from the IRS files.


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16.      Government Exhibit A-16 is a true and correct copy of a Point Purpose Trust’s Trust

         Declaration which came from the IRS files.

17.      Government Exhibit A-47 is a true and correct copies of emails for approved capital

         calls which came from the IRS files.

18.      Government Exhibit A-48 is a true and correct copy of Tamine’s affidavit dated July 4,

         2020, which came from the IRS files.

19.      Government Exhibit A-49 is a true and correct copies of emails about Significant

         Transaction Report which came from the IRS files.

20.      Government Exhibit A-50 is a true and correct copies of emails sending Brockman cash

         reports which came from the IRS files.

21.      Government Exhibit A-51 is a true and correct copy of Brockman’s Performance

         Review for Tamine 2-5-2010 which came from the IRS files.

22.      Government Exhibit A-52 is a true and correct copy of a 2014 Compensation Memo and

         discussion which came from the IRS files.

23.      Government Exhibit A-53 is a true and correct copy of a 2014 Compensation Memo

         attachment which came from the IRS files.

24.      Government Exhibit A-54 is a true and correct copy of Brockman’s To Do List for

         Tamine 5-21-2011 which came from the IRS files.

25.      Government Exhibit A-55 is a true and correct copies of emails from Brockman

         regarding Gordon Howard (“Howard”) which came from the IRS files.

26.      Government Exhibit A-56 is a true and correct copy of emails regarding Brockman

         replacing Tamine for Howard which came from the IRS files.




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27.      Government Exhibit A-57 is a true and correct copy of Brockman’s To Do List for

         Tamine 5-16-2012 which came from the IRS files.

28.      Government Exhibit A-58 is a true and correct copies of emails from Brockman

         regarding digital signatures which came from the IRS files.

29.      Government Exhibit A-59 is a true and correct copy of an email from Don Jones

         regarding compensation and use of trusts. which came from the IRS files.

30.      Government Exhibit A- 60 is a true and correct copy of an email where Brockman

         discusses taking a distribution which came from the IRS files.

31.      Government Exhibit A-61 is a true and correct copies of emails where Brockman

         discusses banks which came from the IRS files.

32.      Government Exhibit A-62 is a true and correct copies of emails of Brockman discussing

         the aircraft which came from the IRS files.

33.      Government Exhibit A-63 is a true and correct copies of an email between Brockman

         and Tamine regarding the Bermuda Commercial Bank freeze dated August 13, 2017,

         which came from the IRS files.

34.      Government Exhibit A-64 is a true and correct copy of a Tamine Memorandum

         regarding the Bermuda Commercial Bank freeze dated July 29, 2018, which came from

         the IRS files.

35.      Government Exhibit A-65 is a true and correct copy of emails regarding Tamine’s

         compensation which came from the IRS files.

36.      Government Exhibit A-70 is a true and correct copy of emails between Brockman and

         Tamine regarding a $250 million contribution which came from the IRS files.




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37.      Government Exhibit A-75 is a true and correct copy of an email regarding Massengill

         trusts, FATCA and Know Your Customer (“KYC”) in 2013 from Tamine to Brockman

         which came from the IRS files.

38.      Government Exhibit A-78 is a true and correct copy of an email from Brockman

         regarding the name change of trust which came from the IRS files.

39.      Government Exhibit A-80 is a true and correct copy of Tamine’s 2015 Self Evaluation –

         6-16-2016 which came from the IRS files.

40.      Government Exhibit A-82 is a true and correct copy of an inventory of Carlos Kepke

         correspondence which came from the IRS files.

41.      Government Exhibit A-85 is a true and correct copy of emails regarding security

         measures which came from the IRS files.

42.      Government Exhibit A-86 is a true and correct copy of emails regarding security

         measures during travel which came from the IRS files.

43.      Government Exhibit A-87 is a true and correct copy of emails regarding false documents

         which came from the IRS files.

44.      Government Exhibit A-88 is a true and correct copy of emails regarding destruction of

         records which came from the IRS files.

45.      Government Exhibit A-90 is a true and correct copy of Brockman’s indictment which

         came from the IRS files.

46.      Government Exhibit A-92 is a true and correct copy of a news article from the Dayton

         Daily News regarding Reynolds & Reynolds CEO facing federal charges which came

         from the IRS files.




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47.      Government Exhibit A-93 is a true and correct copy of Robert Smith’s Non-Prosecution

         Agreement which came from the IRS files.

48.      Government Exhibit A-94 is a true and correct copy of Carlos Kepke’s indictment which

         came from the IRS files.

49.      Government Exhibit A-95 is a true and correct copy of the Dorothy Brockman Power of

         Attorney over Brockman’s affairs which came from the IRS files.

50.      Government Exhibit A-201 is a true and correct copy of Point Investments’ Mirabaud

         account opening forms which came from the IRS files.

51.      Government Exhibit A-202 is a true and correct copy of Point Investments’ Mirabaud –

         account opening forms which came from the IRS files.

52.      Government Exhibit A-204 is a true and correct copy of an email from Tamine to

         Brockman sending Point Investments’ Mirabaud user id which came from the IRS files.

53.      Government Exhibit A-302 is a true and correct copy of Spanish Steps’ Mirabaud

         account opening forms which came from the IRS files.

B-exhibits

54.      Government Exhibit B-1.30 is a true and correct copies of Edge Investments’ Bermuda

         Commercial Bank account statements which came from the IRS files.

55.      Government Exhibit B-4 is a true and correct copy of an email regarding the new Nevis

         company Edge Capital Investments which came from the IRS files.

56.      Government Exhibit B-5 is a true and correct copy of Edge Capital Investments’

         Articles of Incorporation which came from the IRS files.

57.      Government Exhibit B-6 is a true and correct copy of Edge Capital Investments’ Bylaws

         which came from the IRS files.


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58.      Government Exhibit B-7 is a true and correct copy of Edge Capital Investments’ Deed

         of Assignment which came from the IRS files.

59.      Government Exhibit B-8 is a true and correct copy of Edge Capital Investments’

         Certificate of Incorporation which came from the IRS files.

60.      Government Exhibit B-9 is a true and correct copy from the safe deposit box inventory

         of Brockman documents which came from the IRS files.

61.      Government Exhibit B-10 is a true and correct copy of Edge/Massengill Childrens

         Structure Chart which came from the IRS files.

62.      Government Exhibit B-11 is a true and correct copy of the Alpheus/Edge/Cascade group

         structure chart which came from the IRS files.

63.      Government Exhibit B-12 is a true and correct copy of Edge Capital Investments’ KYC

         chart which came from the IRS files.

64.      Government Exhibit B-13 is a true and correct copy of Edge Capital Investments’ cash

         reports which came from the IRS files.

65.      Government Exhibit B-14 is a true and correct copy of AEBCT People & Asset Report

         which came from the IRS files.

66.      Government Exhibit B-19 is a true and correct copy of emails regarding the Debt

         Purchase Plan which came from the IRS files.

67.      Government Exhibit B-20 is a true and correct copy of Brockman’s instruction to

         Tamine to use Edge Capital Investments which came from the IRS files.

68.      Government Exhibit B-21 is a true and correct copy of a Brockman email to Tamine

         regarding opening Edge Capital Investment’s account which came from the IRS files.




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69.      Government Exhibit B-23 is a true and correct copy of Brockman’s Performance

         Review for Tamine 2-8-2009 which came from the IRS files.

70.      Government Exhibit B-35 is a true and correct copy of Regency Management’s

         Transaction Report 2010-2016 which came from the IRS files.

71.      Government Exhibit B-39 is a true and correct copy of a $265,000 Wire Transfer Detail

         which came from the IRS files.

72.      Government Exhibit B-40 is a true and correct copy of a $4,731,019 Wire Transfer

         Detail which came from the IRS files.

73.      Government Exhibit B-41 is a true and correct copy of Brockman To Do List for

         Tamine May 9, 2010 which came from the IRS files.

74.      Government Exhibit B-42 is a true and correct copy of Regency Management Structure

         Chart which came from the IRS files.

75.      Government Exhibit B-43 is a true and correct copy of Legend Investments Significant

         Transaction Report which came from the IRS files.

76.      Government Exhibit B-60 is a true and correct copy of select pages from the 2019 Form

         1120 of Henke Holdings LLC which came from the IRS files.

77.      Government Exhibit B-61 is a true and correct copy of select pages from the 2019 Form

         1120 of Mountain Queen Inc., which came from the IRS files.

C-exhibits

78.      Government Exhibit C-1.2 is a true and correct copy of QuickBooks Reports for Cabot

         Global Investments which came from the IRS files.

79.      Government Exhibit C-3 is a true and correct copy of an April 2016 Structure Chart for

         Messery/Cabot/Addington which came from the IRS files.


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80.      Government Exhibit C-4 is a true and correct copy of Cabot Global Investments’ KYC

         Letter and Org., Chart which came from the IRS files.

81.      Government Exhibit C-5 is a true and correct copy of Cabot Global Investments

         Structure Chart 2010 which came from the IRS files.

82.      Government Exhibit C-7 is a true and correct copy of Cabot Global Investments’

         Significant Transaction Report which came from the IRS files.

83.      Government Exhibit C-10 is a true and correct copy of Brockman’s To Do List for

         Tamine 3-19-2013 which came from the IRS files.

84.      Government Exhibit C-12 is a true and correct copy of Tamine’s Self Evaluation 2009

         which came from the IRS files.

85.      Government Exhibit C-13 is a true and correct copy of Brockman’s To Do List for

         Tamine 12-17-2011 which came from the IRS files.

86.      Government Exhibit C-15 is a true and correct copy of Brockman email about

         controlling Cabot Global Investments dated March 6, 2011, which came from the IRS

         files.

87.      Government Exhibit C-16 is a true and correct copy of a sample email transmitting

         Cabot QuickBooks to Brockman which came from the IRS files.

88.      Government Exhibit C-18 is a true and correct copy of Brockman email regarding

         converting all structures to Canadian dollars which came from the IRS files.

89.      Government Exhibit C-19 is a true and correct copy of Brockman email nregarding

         Edge and Cabot accounts dated April 26, 2011, which came from the IRS files.

90.      Government Exhibit C-21 is a true and correct copies of emails regarding Cabot Global

         Investments’ bank accounts which came from the IRS files.


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91.    Government Exhibit C-22 is a true and correct copy of QuickBooks Report Transaction

       details for Cabot Global Investments which came from the IRS files.

92.    Government Exhibit C-23 is a true and correct copies of emails about luxury yacht

       Albula which came from the IRS files.

93.    Government Exhibit C-24 is a true and correct copy of an email about luxury yacht

       Albula which came from the IRS files.

94.    Government Exhibit C-25 is a true and correct copy of emails about the luxury yacht

       Albula which came from the IRS files.

95.    Government Exhibit C-26 is a true and correct copy of emails about luxury yacht which

       came from the IRS files.

96.    Government Exhibit C-27 is a true and correct copy of emails about luxury yacht

       Turmoil which came from the IRS files.

97.    Government Exhibit C-28 is a true and correct copy of emails about Albula ownership

       which came from the IRS files.

98.    Government Exhibit C-29 is a true and correct copy of emails about luxury yacht

       Turmoil/Albula ownership which came from the IRS files.

99.    Government Exhibit C-30 is a true and correct copy of an email about Turmoil/Albula

       and Fisheries Research Foundation which came from the IRS files.

100.   Government Exhibit C-31 is a true and correct copy of emails about Albula Employment

       Agreement which came from the IRS files.

101.   Government Exhibit C-32 is a true and correct copy of an amended employment

       agreement which came from the IRS files.




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102.   Government Exhibit C-33 is a true and correct copy of emails about Turmoil/Albula

       offer which came from the IRS files.

103.   Government Exhibit C-34 is a true and correct copies of emails about Turmoil/Albula

       offer rejected which came from the IRS files.

104.   Government Exhibit C-35 is a true and correct copy of emails about Turmoil/Albula

       where Brockman rejects alternate yacht which came from the IRS files.

105.   Government Exhibit C-36 is a true and correct copies of emails about Turmoil/Albula

       ownership which came from the IRS files.

106.   Government Exhibit C-37 is a true and correct copies of emails about Albula follow up

       which came from the IRS files.

107.   Government Exhibit C-38 is a true and correct copy of an email about Albula alleged

       research purpose which came from the IRS files.

108.   Government Exhibit C-39 is a true and correct copy of Cabot Global Investments’

       QuickBooks Report regarding the Albula payment which came from the IRS files.

109.   Government Exhibit C-40 is a true and correct copy of emails about Albula hull painting

       which came from the IRS files.

110.   Government Exhibit C-41 is a true and correct copy of emails about Albula medical

       equipment which came from the IRS files.

111.   Government Exhibit C-42 is a true and correct copy of an email about Albula’s crew

       performance reviews which came from the IRS files.

112.   Government Exhibit C-43 is a true and correct copy of Brockman To Do List for

       Tamine 1-18-2015 which came from the IRS files.




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113.   Government Exhibit C-44 is a true and correct copy of Tamine 2016 Self Evaluation 6-

       4-2017 which came from the IRS files.

114.   Government Exhibit C-45 is a true and correct copies of Cabot Global Investments’

       Mirabaud account statements showing purchase of yacht which came from the IRS

       files.

115.   Government Exhibit C-46 is a true and correct copy of Regency Management’s bank

       statement which came from the IRS files.

116.   Government Exhibit C-47 is a true and correct copy of Regency Management’s

       Transaction Report which came from the IRS files.

117.   Government Exhibit C-48 is a true and correct copy of a settlement statement for Frying

       Pan Property which came from the IRS files.

118.   Government Exhibit C-49 is a true and correct copy of emails regarding Colorado

       property Lot 8 offer which came from the IRS files.

119.   Government Exhibit C-50 is a true and correct copy of Brockman emails showing

       control of Mountain Queen Inc. which came from the IRS files.

120.   Government Exhibit C-51 is a true and correct copy of Regency Management’s structure

       chart which came from the IRS files.

121.   Government Exhibit C-52 is a true and correct copy of Cabot Global Investments’

       QuickBooks Report showing Cabot transfer to Regency 12-1-2014 which came from the

       IRS files.

122.   Government Exhibit C-53 is a true and correct copy of Cabot Global Investments’

       QuickBooks Report showing Cabot transfer to Regency Management 9-26-2015 which

       came from the IRS files.


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123.   Government Exhibit C-54 is a true and correct copy of Cabot Global Investments’

       QuickBooks Report showing Cabot transfer to Regency Management 4-20-2016 which

       came from the IRS files.

124.   Government Exhibit C-55 is a true and correct copy of Cabot Global Investments’

       QuickBooks Report showing Cabot Global Investments’ transfer to Regency

       Management 10-24-2016 which came from the IRS files.

125.   Government Exhibit C-56 is a true and correct copy of an email approving monthly

       expenses which came from the IRS files.

126.   Government Exhibit C-57 is a true and correct copy of an email requesting approval of

       tenant which came from the IRS files.

127.   Government Exhibit C-58 is a true and correct copy of an email requesting approval of

       tax return position which came from the IRS files.

128.   Government Exhibit C-59 is a true and correct copy of an email requesting approval

       regarding fishing rights which came from the IRS files.

129.   Government Exhibit C-60 is a true and correct copy of Brockman’s To Do List for

       Tamine 4-26-2009 which came from the IRS files.

130.   Government Exhibit C-61 is a true and correct copy of emails about reorganizing Cabot

       Global Investments which came from the IRS files.

131.   Government Exhibit C-62 is a true and correct copy of emails regarding Proposed

       Structure Changes which came from the IRS files.

132.   Government Exhibit C-63 is a true and correct copy of 2012 emails Clean Up

       Massengill Trusts which came from the IRS files.




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133.   Government Exhibit C-65 is a true and correct copy of Tamine’s 2013 Self Evaluation

       3-10-2014 which came from the IRS files.

D-exhibits

134.   Government Exhibit D-1 is a true and correct copy of a Universal Computer Systems

       (“UCS”) Letter re Hotrod plan 12-2002 which came from the IRS files.

135.   Government Exhibit D-3 is a true and correct copy of the VEF III ownership structure

       which came from the IRS files.

136.   Government Exhibit D-4 is a true and correct copy of a letter to Howard requesting

       approval of Hotrod 06-2004 which came from the IRS files.

137.   Government Exhibit D-17 is a true and correct copy of selected pages from a 2004 Stock

       Repurchase Agreement (stock redemption) which came from the IRS files.

138.   Government Exhibit D-18 is a true and correct copy of selected pages from a 2006 Stock

       Purchase Agreement (reversal sale) which came from the IRS files.

139.   Government Exhibit D-21 is a true and correct copy of VEF Shares buyback 06-2004

       which came from the IRS files.

140.   Government Exhibit D-27 is a true and correct copy of letter from Brockman regarding

       the destruction of Hot Rod records which came from the IRS files.

Government Exhibit Nos.

141.   Government Exhibit 6 is a true and correct copies of Robert T. Brockman’s Forms 8938

       for the 2017 and 2018 years which came from the IRS records.

142.   Government Exhibit 28 is a true and correct copies of Robert T. Brockman’s Form 8938

       for the 2020 year which came from the IRS.




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143.    Government Exhibit 32 is a true and correct copy of Dorothy Brockman’s Schedule D

        for the 2020 year which came from the IRS.

144.    Government Exhibit 33 is a true and correct copy of portions of the IRS’s wage and

        income transcript for Robert Brockman’s 2020 tax year which came from the IRS.



I declare under penalty of perjury that the foregoing is true and correct.


       Executed this 31 day of January 2022.
                                                  Digitally signed by Damon R.
                                                  Paxton
                                                  Date: 2022.01.31 13:57:45 -08'00'

                               Damon Paxton
                               Revenue Agent
                               Internal Revenue Service




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